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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  )
In re:                                            )      Chapter 7
                                                  )      (Previously Chapter 11)
SMILEDIRECTCLUB, INC., et al.,                    )
                                                  )      Case No. 23-90786 (CML)
                   Debtors.                       )
                                                  )      (Jointly Administered)
                                                  )

         UPDATE PURSUANT TO COURT DIRECTIVE OF NON-PARTY ORRICK,
                       HERRINGTON & SUTCLIFFE LLP

         Non-party Orrick, Herrington & Sutcliffe LLP (“Orrick”), in its capacity as proposed

Special Litigation Counsel for Allison D. Byman, the Chapter 7 Trustee (the “Trustee”) of the

jointly-administered bankruptcy estates of SmileDirectClub, Inc. and the affiliated debtors

(collectively, the “Debtors”) in the above-captioned Chapter 7 cases, files this update pursuant to

the Court’s directive at the February 3, 2025 status conference (the “Status Conference”), which

directed that Orrick file any agreements it has entered into with, on behalf of, or for the benefit of

the Trustee.1 Pursuant to the Court’s directive, Orrick states as follows:

         1.    Attached as Exhibit A is a contract between Consilio, LLC (“Consilio”), Orrick,

and the Trustee for eDiscovery services (the “Consilio Agreement”). Pursuant to Section 3 of the

Consilio Agreement, Orrick is solely responsible for the payment of all associated fees and costs.

Under Orrick’s engagement letter with the Trustee, Orrick could seek reimbursement of such

expenses from the estates if Orrick obtains a recovery to the estate sufficient to reimburse Orrick




1
      Orrick has excluded the agreements previously filed with the Court, such as Orrick’s
engagement letters with the Trustee (ECF Nos. 847-2 at Exhibit 1, 957-3 at Exhibit 1).
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for these expenses. ECF No. 957-3 at Exhibit 1 p. 2-3. For the avoidance of doubt, Orrick will

not seek reimbursement of any costs incurred prior to approval of its retention application.

       2.      Orrick has not entered a joint defense or common interest agreement with any party

to the Securities Cases.2     Whether the common interest doctrine applies to any particular

circumstances is a legal question and this filing is not intended to waive any party’s rights.

       3.      Orrick has not entered any cost-sharing contract with any party, including any

plaintiff or plaintiff law firm in the Securities Cases, in connection with the Consilio Agreement

or otherwise. In the interest of transparency, Orrick and counsel for the plaintiffs in the Securities

Cases discussed a potential cost-sharing agreement, but no agreement was entered into.




2
      Those cases are Franchi v. SmileDirect, Inc., et al., Case No. 3:19-cv-00962 (M.D. Tenn.)
(Consol.); and In re: SmileDirectClub, Inc. Secs. Litig.. Case No. 19-1169-IV (Tenn. Ch. Ct.)
(Consol.).




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Dated: February 6, 2025         Respectfully submitted,



                                By: /s/ Ryan C. Wooten
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                                      Proposed Special Litigation Counsel for
                                               the Chapter 7 Trustee
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of February 2025, a true and correct copy of the

foregoing document was filed and served via the Court’s ECF and notification system to all

parties registered to receive electronic notices in this matter.

                                                       /s/ Ryan C. Wooten
                                                       Ryan C. Wooten
